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 8                      UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
11   Western Trans Logistics,         ) Case No. CV 24-10997-JFW(JCx)
     LLC,                             )
12                                    ) STANDING ORDER
                    Plaintiff,        )
13                                    )
         v.                           )
14                                    )
     Arrow Trucking, Inc.,            )
15                                    )
                   Defendant.         )
16   ___________________________
17       READ THIS ORDER CAREFULLY. IT CONTROLS THE CASE AND
18   DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.
19       This action has been assigned to the calendar of Judge
20   John F. Walter.    Both the Court and counsel1 bear
21   responsibility for the progress of litigation in Federal
22   Court.   To secure the just, speedy, and inexpensive
23   determination of every action, all counsel are ordered to
24   familiarize themselves with the Federal Rules of Civil
25   Procedure, the Local Rules of the Central District of
26
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         1
28 other Any reference in the Court’s Standing Order (or any
          court order) to “counsel” or “attorney” applies to
   parties appearing pro se unless the context requires
   otherwise.
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 1   California, the General Orders of the Central District and
 2   the Judge’s Procedures and Schedules found on the website
 3   for the United States District Court for the Central District
 4   of California (www.cacd.uscourts.gov).
 5   1.   Service of the Complaint:
 6        The plaintiff shall promptly serve the Complaint in
 7   accordance with Fed.R.Civ.P. 4 and shall file the proof(s) of
 8   service pursuant to the Local Rules.          The plaintiff is hereby
 9   notified that failure to serve the Complaint as required by
10   Fed.R.Civ.P. 4(m) will result in the dismissal of the
11   Complaint against the unserved defendant(s).
12   2.   Presence of Lead Counsel:
13        Lead trial counsel shall attend all proceedings before
14   this Court and all Local Rule 7-3, scheduling, status, and
15   settlement conferences.       Only ONE attorney for a party may be
16   designated as lead trial counsel unless otherwise permitted
17   by the Court.
18   3.   Electronic Filing and Courtesy Copies:
19        (a) Within ten days of a party’s initial appearance, lead
20   trial counsel shall file a declaration entitled, “Declaration
21   of Lead Trial Counsel” which shall: (1) notify the Court that
22   counsel has registered as an “CM/ECF User;” (2) include lead
23   counsel’s “E-Mail Address of Record;” and (3) confirm that
24   lead counsel has read the Court’s Standing Order and the
25   Local Rules.
26        (b) All documents that are required to be filed in an
27   electronic format pursuant to the Local Rules shall be filed
28   electronically no later than 4:00 p.m. on the date due unless

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 1   otherwise ordered by the Court.          Any documents filed
 2   electronically after 4:00 p.m. on the date due will be
 3   considered late and may be stricken by the Court.               All
 4   documents filed electronically shall be filed in accordance
 5   with the Local Rule 5-4.        Each PDF file shall contain no more
 6   than one document or exhibit, see Local Rule 5-4.3.1, and
 7   each document or exhibit shall be meaningfully described on
 8   the docket such that the document or exhibit can be easily
 9   identified.   For example, if a declaration in support of a
10   motion appears as Docket No. 30, exhibit 1 to the declaration
11   should be filed as Docket No. 30-1 with a description of the
12   exhibit that includes the title of the exhibit and the
13   exhibit number (e.g., Exhibit 1: Letter from John Doe to Jane
14   Doe dated January 1, 2021).         Exhibit 2 to the declaration
15   should be filed as Docket No. 30-2 with a description of the
16   exhibit which includes the title of the exhibit and exhibit
17   number (Exhibit 2: Letter from Jane Doe to John Doe dated
18   January 2, 2021), and so on.         Any documents that counsel
19   attempt to file electronically that are improperly filed will
20   not be accepted by the Court.
21       (c) Counsel are ORDERED to deliver 2 copies of all
22   documents filed electronically in this action to Chambers.
23   For each document filed electronically, one copy shall be
24   marked “CHAMBERS COPY” and the other copy shall be marked
25   “COURTESY COPY.”       The “CHAMBERS COPY” and “COURTESY COPY” are
26   collectively referred to herein as “Courtesy Copies.” The
27   Courtesy Copies of each electronically filed document must
28   include on each page the running header created by the ECF

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 1   system.   In addition, on the first page of each Courtesy
 2   Copy, in the space between lines 1 - 7 to the right of the
 3   center, counsel shall include the date the document was
 4   e-filed and the document number. The Courtesy Copies shall be
 5   single-sided and shall not be blue-backed. All documents must
 6   be stapled only in the top left-hand corner, the electronic
 7   proof of service must be attached as the last page of each
 8   document, and the exhibits attached to any document must be
 9   tabbed.   Counsel shall not staple the “COURTESY COPY” and
10   “CHAMBERS COPY” together. The “COURTESY COPY” and “CHAMBERS
11   COPY” of all documents must be three-hole punched at the left
12   margin with oversized 13/32" hole size, not the standard
13   9/32" hole size.       If the courtesy copy exceeds twenty-five
14   pages, the courtesy copy shall be placed in a slant D-ring
15   binder with each item of evidence separated by a tab divider
16   on the right side. All documents contained in the binder must
17   be three hole punched with the oversized 13/32” hole size,
18   not the standard 9/32” hole size.          The binder shall include a
19   Table of Contents and the spine of the binder shall be
20   labeled with its contents.
21       The Courtesy Copies shall be delivered to Chambers no
22   later than 10:00 a.m. on the next business day after the
23   document was electronically filed.
24       (d) For any document that is not required to be filed
25   electronically, counsel are ORDERED to deliver 1 conformed
26   copy of the document, which shall be marked “COURTESY COPY,”
27   to Chambers at the time of filing. For any document or
28   exhibit that is not required to be filed electronically,

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 1   counsel shall retain a copy of that document or exhibit until
 2   all appeals have been exhausted.
 3       (e)   If the Court has granted an application to file
 4   documents under seal, the Court’s Courtesy Copies shall
 5   include a complete version of the documents including any
 6   sealed documents. Each document that has been filed under
 7   seal shall include a notation identifying that the document
 8   has been filed under seal, and shall be highlighted to show
 9   the portion of the document that has been redacted. For
10   example, if the Court orders Ex. A to a Declaration filed
11   under seal, the Court’s Courtesy Copies of the Declaration
12   should include Ex. A as an attachment with a notation that it
13   has been filed under seal pursuant to the Court’s order and
14   any redactions shall be highlighted.
15       (f) In the unlikely event counsel finds it necessary to
16   file a Notice of Errata: (1) the Notice of Errata shall
17   specifically identify each error by page and line number and
18   set forth the correction; and (2) a corrected version of the
19   document in its entirety shall be attached to the Notice of
20   Errata.
21       (g) When a proposed order or other proposed document
22   accompanies an electronic filing, the proposed order or other
23   proposed document shall be in PDF format and included, as an
24   attachment, with the main electronically filed document
25   (e.g., stipulations, applications, motions).            Proposed orders
26   or other proposed documents (such as a proposed judgment)
27   that are not lodged with a main document shall be
28   electronically lodged as an attachment to a Notice of

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 1   Lodging; if the proposed document is being submitted in
 2   response to a court order, the filer shall link the Notice of
 3   Lodging to that court order.
 4        After a document requiring a judge’s signature has been
 5   lodged, a WordPerfect or Microsoft Word copy of the proposed
 6   document, along with a PDF copy of the electronically filed
 7   main document, MUST be emailed to the chambers email address,
 8   EITHER by using the “Proposed Orders” link within the CM/ECF
 9   System OR by sending a separate email with the subject line
10   in the following format: Court’s divisional office, year,
11   case type, case number, document control number assigned to
12   the main document at the time of filing, judge’s initials,
13   and filer (party) type and name (e.g., for Los Angeles:
14   LA08CV00123-6-ABC-Defendant). Do not submit the proposed
15   order twice. Failure to comply with this requirement may
16   result in the denial or striking of the request or the Court
17   may withhold ruling on the request until the Court receives
18   the required documents.
19   4.   Discovery:
20        (a) All discovery matters have been referred to a United
21   States Magistrate Judge.       (The Magistrate Judge’s initials
22   follow the Judge’s initials next to the case number.)               All
23   discovery documents must include the words “DISCOVERY MATTER”
24   in the caption to ensure proper routing.           Counsel are
25   directed to contact the Magistrate Judge’s Courtroom Deputy
26   to schedule matters for hearing.
27        All decisions of the Magistrate Judge shall be final,
28   subject to modification by the District Court only where it

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 1   is shown that the Magistrate Judge’s Order is clearly
 2   erroneous or contrary to law.        Any party may file and serve a
 3   motion for review and reconsideration before this Court.                  The
 4   moving party must file and serve the motion within fourteen
 5   calendar days of service of a written ruling or within
 6   fourteen calendar days of an oral ruling that the Magistrate
 7   Judge states will not be followed by a written ruling.               The
 8   motion must specify which portions of the ruling are clearly
 9   erroneous or contrary to law and support the contention with
10   a memorandum of points and authorities.            Counsel shall
11   deliver a courtesy copy of the moving papers and responses to
12   the Magistrate Judge.
13        (b) Counsel shall begin to actively conduct discovery
14   before the Fed.R.Civ.P. 26(f) conference because at the
15   Scheduling Conference the Court will impose tight deadlines
16   to complete discovery.      If the action is a putative class
17   action, the parties shall begin to conduct discovery
18   immediately, so that the Motion for Class Certification can
19   be timely filed.
20   5.   Motions:
21        (a) Time for Filing and Hearing Motions:
22        Motions shall be filed in accordance with the Local
23   Rules.   This Court hears motions on Mondays commencing at
24   1:30 p.m.   Once a party has noticed a motion for hearing on a
25   particular date, the hearing shall not be continued without
26   leave of Court.    No supplemental briefs shall be filed
27   without leave of Court.       Courtesy Copies shall be provided to
28   the Court in accordance with Section 3 of this Order.               No

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 1   motion shall be noticed for hearing more than 35 calendar
 2   days after service of the motion unless otherwise ordered by
 3   the Court.     Documents not filed in compliance with the
 4   Court’s requirements will be stricken and will not be
 5   considered by the Court.
 6       (b) Local Rule 7-3:
 7       Among other things, Local Rule 7-3 requires counsel to
 8   engage in a pre-filing conference to discuss thoroughly the
 9   substance of the contemplated motion and any potential
10   resolution.     Counsel should discuss the issues with
11   sufficient detail so that if a motion is still necessary, the
12   briefing may be directed to those substantive issues
13   requiring resolution by the Court.
14       Many motions to dismiss or to strike could be avoided if
15   the parties confer in good faith especially for perceived
16   defects in a Complaint, Answer, or Counterclaim that could be
17   corrected by amendment.       See, e.g., Eminence Capital, LLC v.
18   Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003)(where a
19   motion to dismiss is granted, a district court should provide
20   leave to amend unless it is clear that the Complaint could
21   not be saved by any amendment).         The Ninth Circuit requires
22   that this policy favoring amendment be applied with “extreme
23   liberality.”     Morongo Band of Mission Indians v. Rose, 893
24   F.2d 1074, 1079 (9th Cir. 1990).
25       These principles require counsel for the plaintiff to
26   carefully evaluate the defendant’s contentions as to the
27   deficiencies in the Complaint, and in most instances, counsel
28   should agree to any amendment that would cure a curable

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 1   defect.    Counsel should, at the very least, resolve minor
 2   procedural or other non-substantive matters during the
 3   conference.
 4       All 7-3 conferences shall be conducted in person by lead
 5   counsel.    If lead counsel are not both located within the
 6   Central District of California, the conference may take place
 7   via video (letters and e-mail do not constitute a proper 7-3
 8   conference).    The pro se status of one or more parties does
 9   not excuse compliance with Local Rule 7-3.
10       Notwithstanding the exemption for preliminary injunction
11   motions in Local Rule 7-3, counsel contemplating filing a
12   preliminary injunction motion shall comply with Local Rule 7-
13   3 and meet and confer in person at least five days prior to
14   the filing of such a motion.
15       Not more than two calendar days after the 7-3 conference
16   for any contemplated motion (and at least five calendar days
17   prior to filing the contemplated motion), counsel shall file
18   a joint statement indicating the date of, duration of, and
19   method of communication used during the conference and the
20   participants in the conference.         In addition, the joint
21   statement shall detail the issues discussed and resolved
22   during the conference and the issues remaining.             Failure to
23   strictly comply with the Court’s requirements or Local Rule
24   7-3 will result in the striking and/or the denial of the
25   motion.
26       (c) Length and Format of Motion Papers:
27       Memoranda of Points and Authorities in support of or in
28   opposition to motions shall not exceed 25 pages.             Replies

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 1   shall not exceed 12 pages.        Only in rare instances and for
 2   good cause shown will the Court grant an application to
 3   extend these page limitations.
 4       Typeface shall comply with the Local Rules. NOTE: If
 5   Times Roman is used, the font size must be no less than 14;
 6   if Courier is used, the font size must be no less than 12.
 7   Footnotes shall be in the same typeface and font size as the
 8   text and shall be used sparingly.
 9       Documents which do not conform to the Local Rules and
10   this Order will not be considered.
11       (d) Citations to Case Law:
12       Citations to case law must identify not only the case
13   being cited, but the specific page referenced. In the event
14   it is necessary to cite to Westlaw or Lexis, the Court
15   prefers that counsel cite to Westlaw.              Hyperlinks for case
16   citations must be included.
17       (e) Citations to Other Sources:
18       Statutory references should identify, with specificity,
19   which sections and subsections are being referenced (e.g.,
20   Jurisdiction over this claim for relief may appropriately be
21   found in 47 U.S.C. § 33, which grants the district courts
22   jurisdiction over all offenses of the Submarine Cable Act,
23   whether the infraction occurred within the territorial waters
24   of the United States or on board a vessel of the United
25   States outside said waters).        Statutory references which do
26   not specifically indicate the appropriate section and
27   subsection (e.g., Plaintiffs allege conduct in violation of
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 1   the Federal Electronic Communication Privacy Act, 18 U.S.C. §
 2   2511, et seq.) are to be avoided.          Citations to treatises,
 3   manuals, and other materials should similarly include the
 4   volume and the section referenced.
 5       (f) Proposed Statement of Decision
 6       Not more than two days after the deadline for filing the
 7   Reply, each party shall lodge a Proposed Statement of
 8   Decision, which shall contain a statement of the relevant
 9   facts and applicable law with citations to case law and the
10   record.   The Proposed Statement of Decision shall not exceed
11   fifteen pages and shall be in a form that would be
12   appropriate for the Court to enter as its final order on the
13   motion.   The Proposed Statement of Decision shall be
14   submitted to the Court in accordance with the Local Rules and
15   shall be e-mailed in WordPerfect or Word format to the
16   Chambers’ e-mail address (JFW_Chambers@cacd.uscourts.gov) at
17   the time of filing. Failure to lodge the Proposed Statement
18   of Decision will result in the denial or granting of the
19   motion.
20       (g) Opposing Papers
21       Within the deadline prescribed by the Local Rules, a
22   party opposing a motion shall file: (1) an Opposition; or (2)
23   a Notice of Non-Opposition.        If a party files a Notice of
24   Non-Opposition to a motion under Federal Rule of Civil
25   Procedure 12(b), (e), or (f), that party shall state whether
26   it intends to file an amended complaint in accordance with
27   Federal Rule of Civil Procedure 15(a)(1).
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 1       Failure to timely respond to any motion shall be deemed
 2   by the Court as consent to the granting of the motion.                See
 3   Local Rules.
 4       (h)    Amended Pleadings
 5       Whenever a plaintiff files an amended pleading, a
 6   redlined version of the amended pleading shall be filed and
 7   delivered to Chambers indicating all additions and deletions
 8   to the prior version of that pleading.
 9       In addition to the requirements of the Local Rules, all
10   motions to amend the pleadings shall: (1) state the effect of
11   the amendment; and (2) state the page, line number(s), and
12   wording of any proposed change or addition of material.
13       In the event the Court grants a motion to dismiss without
14   prejudice to filing an amended complaint, the plaintiff shall
15   file an amended complaint within the time period specified by
16   the Court.     If no time period is specified by the Court, the
17   plaintiff shall file an amended complaint within fourteen
18   calendar days of the date of the order granting the plaintiff
19   leave to file an amended complaint.          Failure to file an
20   amended complaint within the time allotted will result in the
21   dismissal of the action with prejudice.
22       (i) Motions for Class Certification
23       Motions for Class Certification shall be filed within 120
24   days after service of a pleading purporting to commence a
25   class action (or if applicable 120 days after service of the
26   Notice of Removal), unless otherwise ordered by the Court.
27   Failure to timely file a Motion for Class Certification will
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 1   result in the striking of the class allegations from the
 2   operative pleading.
 3   6.   Ex Parte Applications:
 4        Ex parte applications are solely for extraordinary
 5   relief.    See Mission Power Eng'g Co. v. Continental Cas. Co.,
 6   883 F. Supp. 488 (C.D. Cal. 1995).          Applications that fail to
 7   conform with the Local Rules, including a statement of
 8   opposing counsel’s position, will not be considered.                 In
 9   addition to electronic service, the moving party shall
10   immediately serve the opposing party by e-mail or hand
11   service and shall notify the opposing party that any
12   opposition must be filed not later than twenty-four hours
13   after the filing of the ex parte application.               If counsel
14   does not intend to oppose the ex parte application, counsel
15   shall immediately inform the Courtroom Deputy by e-mail and
16   immediately file a Notice of Non-Opposition.               The Court
17   considers ex parte applications on the papers and usually
18   does not set the matters for hearing.              Courtesy Copies of all
19   moving and opposition (or non-opposition) papers shall be
20   provided to the Court in accordance with Section 3 of this
21   Order.    The Courtroom Deputy will notify counsel of the
22   Court’s ruling or a hearing date and time, if the Court
23   determines a hearing is necessary.
24   7.   Applications or Stipulations to Extend the Time to File
25   any Required Document or to Continue Any Date:
26        No application or stipulation to extend the time to file
27   any required document or to continue any date is effective
28   unless and until the Court approves it.              Any application or

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 1   stipulation to extend the time to file any required document
 2   or to continue any date must set forth the following:
 3        (a)   the existing due date or hearing date, as well as
 4   all dates set by the Court, including the discovery cut-off
 5   date, the Pre-Trial Conference date, and the Trial date;
 6        (b) the new dates proposed by the parties;
 7        (c) specific, concrete reasons supporting good cause for
 8   granting the extension; and
 9        (d) whether there have been prior requests for extensions
10   by any party, and whether those requests were granted or
11   denied by the Court.
12        The application or stipulation must be accompanied by a
13   separate proposed order.        The proposed order shall include
14   the existing due date(s) or hearing date(s) as well as the
15   new proposed date(s).
16        Failure to comply with the provisions of this section may
17   result in the denial of the application or stipulation.
18   8.   Temporary Restraining Orders and Injunctions:
19        (a) Documentation Required:
20        Parties seeking emergency or provisional relief shall
21   comply with Fed.R.Civ.P.65 and the Local Rules.               An ex parte
22   application for a temporary restraining order must be
23   accompanied by:        (1) a copy of the complaint; (2) a separate
24   memorandum of points and authorities in support of the
25   application; (3) the proposed temporary restraining order and
26   a proposed order to show cause why a preliminary injunction
27   should not issue; and (4) such other documents in support of
28   the application that the party wishes the Court to consider.

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 1   Courtesy Copies of these documents shall be immediately
 2   delivered to Chambers.
 3        (b) Notice of Ex Parte Applications:
 4        Unless relieved by order of the Court for good cause
 5   shown, on or before the day counsel files an ex parte
 6   application for a temporary restraining order, counsel must
 7   personally serve notice and all documents in support of the
 8   ex parte application and a copy of the Court’s Standing Order
 9   on opposing counsel or party.         Counsel shall also notify the
10   opposing party that any opposition must be filed no later
11   than twenty-four hours after the service of the ex parte
12   application.    Counsel shall immediately file a Proof of
13   Service.
14        If counsel does not intend to oppose the ex parte
15   application, counsel shall immediately inform the Courtroom
16   Deputy by e-mail and immediately file a Notice of Non-
17   Opposition.    The Court considers ex parte applications on the
18   papers and usually does not set the matter for hearing.
19   Courtesy Copies of all moving, opposition, or non-opposition
20   papers shall be provided to the Court in accordance with
21   Section 3 of this Order.       The Courtroom Deputy will notify
22   counsel of the Court’s ruling or a hearing date and time, if
23   the Court determines a hearing is necessary.
24   9.   Proposed Protective Orders and Filings Under Seal:
25        Protective orders pertaining to discovery must be
26   submitted to the assigned Magistrate Judge.             Proposed
27   protective orders should not purport to allow, without
28   further order of Court, the filing under seal of pleadings or

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 1   documents filed in connection with a hearing or trial before
 2   the Court.    The existence of a protective order does not
 3   alone justify the filing of pleadings or other documents
 4   under seal, in whole or in part.
 5       An application to file documents under seal must meet the
 6   requirements of the Local Rules and shall be limited to three
 7   documents by a party, unless otherwise ordered by the Court.
 8   The application to file documents under seal should not be
 9   filed under seal.        There is a strong presumption of the
10   public’s right of access to judicial proceedings and records
11   in civil cases.        In order to overcome the presumption in
12   favor of access, the movant must demonstrate compelling
13   reasons (as opposed to good cause) for the sealing if the
14   sealing is requested in connection with a dispositive motion
15   or trial, and the relief sought shall be narrowly tailored to
16   serve the specific interest sought to be protected.                Pintos
17   v. Pacific Creditors Ass'n, 605 F.3d 665 (9th Cir. 2010),
18   Kamakana v. City and County of Honolulu, 447 F.3d 1172 (9th
19   Cir. 2006), Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d
20   1122, 1135 (9th Cir. 2003).
21       For each document or other type of information sought to
22   be filed under seal, the party seeking protection must
23   articulate compelling reasons supported by specific facts or
24   legal justification that the document or type of information
25   should be protected.        The facts supporting the application to
26   file documents under seal must be provided by a declaration.
27   The declaration shall attach an unredacted copy of each
28   document to be filed under seal.          The parties are ordered to

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 1   highlight the portion of the document containing counsel’s
 2   proposed redactions.      Documents that are not confidential or
 3   privileged in their entirety will not be filed under seal if
 4   the confidential portions can be redacted and filed
 5   separately.    The declarations in support of the application
 6   to file documents under seal shall include an explanation of
 7   why redaction is not feasible.
 8       If the parties anticipate requesting the Court to file
 9   more than three documents under seal in connection with any
10   motion, they shall identify all such documents that will be
11   required to support and oppose the motion during the Local
12   Rule 7-3 conference.      The parties shall then meet and confer
13   in order to determine if the documents satisfy the
14   “compelling need” standard for “sealing” each document.
15   Thereafter, the parties shall file a joint application and
16   lodge a proposed order to file under seal all such documents
17   with the required showing as to each document.             The joint
18   application shall be filed promptly so that the Court may
19   rule on the application before the filing date for the
20   motion.   The parties shall not file any pleadings containing
21   documents they have requested the Court to file under seal
22   until the Court acts on the application to file under seal.
23       If a party wishes to file a document that has been
24   designated confidential by another party, the submitting
25   party must give any designating party five calendar days
26   notice of intent to file.        If the designating party objects,
27   it should notify the submitting party and file an application
28   to file documents under seal within two court days.

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 1       If an application to file documents under seal is denied
 2   in part or in full, the lodged documents will not be filed.
 3   The Courtroom Deputy will notify the submitting party, and
 4   hold the lodged documents for three court days to allow the
 5   submitting party to retrieve the documents.             If the documents
 6   are not retrieved, the Courtroom Deputy will dispose of the
 7   documents.
 8       If the Court grants an application to file documents
 9   under seal, the parties shall file within two days of the
10   Court’s Order a complete version of the documents under seal
11   and a redacted version for public viewing (omitting only such
12   portions as the Court has ordered to be filed under seal).
13   The Court’s Courtesy Copies of all documents filed under seal
14   shall include a complete version of the documents with a
15   notation identifying that the document has been filed under
16   seal and shall be highlighted to show the portion of the
17   document that has been redacted. Should counsel fail to file
18   the under seal version and redacted version of the documents,
19   the Court will strike any motion that relies on or relates to
20   those documents and/or file those documents in the public
21   record.
22   10. Cases Removed From State Court:
23       Within five days of removal, all documents filed in state
24   court, including documents attached to the Complaint,
25   Answer(s), and Motion(s), must be re-filed in this Court as a
26   separate supplement to the Notice of Removal.             The Courtesy
27   Copies of the supplement shall be prepared in accordance with
28   Section 3 of this Order.       If the defendant has not yet

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 1   answered or moved, the Answer or responsive pleading filed in
 2   this Court must comply with the Federal Rules of Civil
 3   Procedure and the Local Rules of the Central District.                If
 4   before the case was removed a motion was pending in state
 5   court, it must be re-noticed in accordance with the Local
 6   Rules.
 7   11. Actions Transferred From Another District
 8       Counsel shall file, within ten days of transfer, a Joint
 9   Report summarizing the status of the action which shall
10   include a description of all motions filed in the action and
11   the transferor court’s ruling on the motions.             In addition,
12   counsel shall deliver (but not file) one courtesy copy to
13   Chambers of each document on the docket of the transferor
14   court.   On the first page of each courtesy copy, in the space
15   between lines 1 - 7, to the right of the center, counsel
16   shall include the date the document was filed and the
17   document number.       The courtesy copies shall be placed in a
18   slant D-ring binder in chronological order with each document
19   separated by a tab divider on the right side.             All documents
20   contained in the binder must be three hole punched with the
21   oversized 13/32" hole size, not the standard 9/32" hole size.
22   The binder shall include a Table of Contents and the spine of
23   each binder shall be labeled with its contents.              The courtesy
24   copies shall be delivered to Chambers within ten days of the
25   transfer.
26   / / /
27   / / /
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 1   12. Status of Fictitiously Named Defendants:
 2       This Court adheres to the following procedures when a
 3   matter is removed to this Court on diversity grounds with
 4   fictitiously named defendants referred to in the Complaint:
 5       (a) Plaintiff shall ascertain the identity of and serve
 6   any fictitiously named defendants within 90 days of the date
 7   that the Complaint was filed in State Court.
 8       (b) If plaintiff believes (by reason of the necessity for
 9   discovery or otherwise) that fictitiously named defendants
10   cannot be fully identified within the 90-day period, an ex
11   parte application requesting permission to extend the period
12   to effectuate service may be filed with the Court.              Such
13   application shall state the reasons therefore, and will be
14   granted only upon a showing of good cause.            The ex parte
15   application shall be served upon all appearing parties, and
16   shall state that appearing parties may respond within seven
17   calendar days of the filing of the ex parte application.
18       (c) If plaintiff desires to substitute a named defendant
19   for one of the fictitiously named defendants, plaintiff shall
20   first seek the consent of counsel for all defendants (and
21   counsel for the fictitiously named party, if that party has
22   separate counsel). If consent is withheld or denied,
23   plaintiff shall file an ex parte application requesting such
24   amendment, with notice to all appearing parties.              Each party
25   shall have seven calendar days to respond.            The ex parte
26   application and any response should comment not only on the
27   substitution of the named party for a fictitiously named
28   defendant, but on the question of whether the matter should

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 1   thereafter be remanded to the Superior Court if diversity of
 2   citizenship is destroyed by the addition of the new
 3   substituted party.
 4   13. Bankruptcy Appeals:
 5       Counsel shall comply with the Notice Regarding Appeal
 6   From Bankruptcy Court issued at the time the appeal is filed
 7   in the District Court.       Counsel are ordered to notify the
 8   Court in a joint report if the Certificate of Readiness has
 9   not been prepared by the Clerk of the Bankruptcy Court and
10   submitted to the Clerk of the District Court within 90 days
11   of the date of this Order.
12       The matter is considered submitted upon the filing of the
13   final brief.    No oral argument is held unless ordered by the
14   Court.
15   14. Communications with Chambers:
16       Counsel shall not attempt to contact the Court or its
17   Chambers staff by telephone or by any other ex parte means,
18   although counsel may contact the Courtroom Deputy at
19   JFW_Chambers@cacd.uscourts.gov with appropriate inquiries
20   after reviewing the Federal Rules of Civil Procedure, the
21   Local Rules, and this Court’s Orders.              To facilitate
22   communication with the Courtroom Deputy, counsel should list
23   their e-mail addresses and their telephone numbers on all
24   papers.
25   15. Notice of This Order:
26       Counsel for plaintiff shall immediately serve this Order
27   on all parties, including any new parties to the action.                     If
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 1   this case came to the Court by removal, defendant shall serve
 2   this Order on all other parties.
 3         Caveat:       If counsel fail to cooperate in the preparation
 4   of the required Joint Rule 26 Report or fail to file the
 5   required Joint Rule 26 Report, or if counsel fail to appear
 6   at the Scheduling Conference, the Pre-Trial Conference and/or
 7   any other proceeding scheduled by the Court, and such failure
 8   is not otherwise satisfactorily explained to the Court: (a)
 9   the cause shall stand dismissed for failure to prosecute, if
10   such failure occurs on the part of the plaintiff; (b) default
11   judgment shall be entered, if such failure occurs on the part
12   of the defendant; or (c) the Court may take such action as it
13   deems appropriate.
14
15         IT IS SO ORDERED.
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17   DATED:          December 26, 2024
                                                 JOHN F. WALTER
18                                       UNITED STATES DISTRICT JUDGE
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